  ÿÿ3+!!ÿ+#ÿ$É+2ÿ+#,&Ê%$Case  +#ÿ$ÿ+0*    #$+,'ÿ' "&ÿ8%2*Document
                                       23-90778                      Ëÿ            1 Filed in TXSB on 09/18/23 Page 1 of 17
     ¡¢£¤¥¦ÿ̈¤©¤¥ªÿ«©¢¬­®¯¤°±ÿ²³®­¤ÿ́³­ÿ¤µ¥¶ÿ
    Ù··Ú·Û·Ü·Ý·Þ·ß·à·ÿ·âã
                       ··ä
                         ·Ü
                          ·ß
                           ·ãå
                             ··Üÿ
                                ·Ú
                                 ·æ
                                  ·ÿ
                                   ÿçÞ èª¤é­£ä°¤ÿ³ÿ́ÿ¹·¨¤·©·¤¥·º·ÿÿ············ÿ
                                    ÿÿ¸£
     ²©ª¥ÿ¢®»¼¥­ÿ¹½¾ÿ¿~Àº¶ÿ·························ÿÿ²µ©¯¤¥­ÿ±³®ÿ©­¥ÿ́£Á£¢Âÿ®¢¦¥­¶ÿ
                                                                             ÃÐ ²µ©¯¤¥­ÿÄÿ
                                                                             Ã ²µ©¯¤¥­ÿÅÅ
                                                                                         Ã ²µ©¯¤¥­ÿÅÆ                        3ÿ21ÿ2ÿ2ÿ4                                                                  4 ÿ1252ÿ
                                                                                         Ã ²µ©¯¤¥­ÿÅÇ

01123245ÿ789 ÿ ÿ
 !"#$%&'ÿ)*$+$+#ÿ,&ÿ- #./#0+1+0"%!2ÿ3+!+#4ÿ,&ÿ5%#6&"7$8'ÿ 9:;<=
>?ÿABCDÿEFGHDÿIEÿJDDKDKLÿGMMGHNÿGÿEDFGCGMDÿENDDMÿMBÿMNIEÿ?BCAOÿPJÿMNDÿMBFÿB?ÿGJQÿGKKIMIBJGRÿFGSDELÿTCIMDÿMNDÿKDUMBCVEÿJGADÿGJKÿMNDÿHGEDÿ
JWAUDCÿXI?ÿYJBTJZOÿÿ[BCÿABCDÿIJ?BCAGMIBJLÿGÿEDFGCGMDÿKBHWADJMLÿ\]^_`ab_cd]^ÿfd`ÿgh]i`aj_bkÿld`m^ÿfd`ÿnd]o\]pcqcpahr^sÿIEÿGtGIRGURDOÿ

uO vDUMBCVEÿJGAD                                                ²µ
                                                                wwww¥
                                                                    w»£
                                                                     www°
                                                                        w©
                                                                         wwÁ
                                                                           ÿwìÕ
                                                                             www°
                                                                                wµ
                                                                                 ww©w¢
                                                                                     wÂ
                                                                                      ww¥
                                                                                        wÿ
                                                                                         wí
                                                                                          w¢w¦
                                                                                             ww®wª
                                                                                                 w¤
                                                                                                  w­
                                                                                                   w£
                                                                                                    ¥wwªwîwÿwí¢ww°wÔwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
xO yRRÿBMNDCÿJGADEÿKDUMBCÿWEDK wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
   IJÿMNDÿRGEMÿzÿQDGCE              wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
   35ÿ4ÿ4 ÿ4 {       wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
   94ÿ4 {ÿ4ÿ}~ÿ  wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿÿ
   ÿ4 

O vDUMBCVEÿ?DKDCGRÿAFRBQDC                                    ÒÖ×ØÇÖÇÄÑÇÿ
     >KDJMI?IHGMIBJÿWAUDCÿ

O vDUMBCVEÿGKKCDEE                                             CIJHIFGRÿFRGHDÿB?ÿUWEIJDEEÿ                                                              GIRIJSÿGKKCDEELÿI?ÿKI??DCDJMÿ?CBAÿFCIJHIFGRÿFRGHDÿ
                                                                                                                                                          B?ÿUWEIJDEEÿ
                                                                wï
                                                                 wØ
                                                                  wwØwÿ
                                                                      w²Á
                                                                       ww£
                                                                         w¢w¤
                                                                            w³w¢
                                                                               wwÿ̧­
                                                                                  www£
                                                                                     wð
                                                                                      w¥
                                                                                       wwwwwwwwwwwwwwwwwwwwwwwwwwwÿ                                       wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
                                                                 9ÿ 9ÿ                                                                            9ÿ 9ÿ
                                                                wÏêÿ
                                                                 wwww«³
                                                                      wwwwÕwÿ
                                                                            wÖwÄ
                                                                               wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ                                        wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
                                                                                                                                                          0ÿ8ÿ
                                                                wÎ©
                                                                 wwwÁ
                                                                    w¥w¢
                                                                       ww©
                                                                         wÿ
                                                                          wÏ©
                                                                           www­
                                                                              w¬
                                                                               wwwwwwwwwwwwwÌÍ
                                                                                            wwwwwwwwÄwÄ
                                                                                                      wÑ
                                                                                                       wwÒ
                                                                                                         wÄ
                                                                                                          wwwwwwÿ                                         wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
                                                                2ÿ                        4ÿ ÿ8ÿÿ                                            2ÿ                     4ÿ ÿ8ÿ
                                                                                                                                                          BHGMIBJÿB?ÿFCIJHIFGRÿGEEDMELÿI?ÿKI??DCDJMÿ?CBAÿ
                                                                                                                                                          FCIJHIFGRÿFRGHDÿB?ÿUWEIJDEEÿ
                                                                wë©
                                                                 www­
                                                                    w­
                                                                     w£
                                                                      ªwwÿ²³
                                                                          wwww®w¢
                                                                                w¤
                                                                                 w±
                                                                                  wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
                                                                8ÿÿ                                                                                  wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
                                                                                                                                                           9ÿ 9ÿ
                                                                                                                                                          wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
                                                                                                                                                          wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
                                                                                                                                                          2ÿ                     4ÿ ÿ8ÿ

O vDUMBCVEÿTDUEIMDÿ                                       wÓÓÓÔ
                                                                 wwwwww¤
                                                                       w¥
                                                                        wÕ
                                                                         ww»©
                                                                           www­
                                                                              w¬
                                                                               wÔ
                                                                                w°
                                                                                 w³
                                                                                  ww»
                                                                                    wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwÿ
O QFDÿB?ÿKDUMBC                                               Ð 8989428ÿ2352ÿ22ÿ24252ÿ8 4ÿÿ4ÿ22ÿ24252ÿ4992ÿ
                                                                 4992ÿ352ÿÿ
                                                                 09ÿ321ÿwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww
01123245ÿ789 ÿ ÿ                                                        8549ÿ228ÿ189ÿ82245ÿ7252ÿ189ÿ493ÿ                                                                            4ÿÿ
                         Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 2 of 17

012345ÿ        
                7717ÿ
              79     7777ÿ7,
                                777777-77ÿ77)7'77.7777ÿ77777777777777777777777777777ÿ   891ÿ 215ÿÿ7777777777777777777777777777777777777ÿÿ

-. /0123450ÿ705893:1ÿ5;14<011 =>?@ABÿAC
                              D E193Fÿ8951ÿ) 1 ÿ9ÿ&11&ÿÿ ÿG>H>8>ÿIÿ J=
                                                     D H(1ÿ= 13ÿK19ÿL 3931ÿ9ÿ&11&ÿÿ ÿG>H>8>ÿIÿ M )
                                                     D K9549&ÿ9ÿ&11&ÿÿ ÿG>H>8>ÿIÿ NN
                                                     D H34*254*15ÿ9ÿ&11&ÿÿ ÿG>H>8>ÿIÿ MO=
                                                     D 84 4&3"ÿ)54*15ÿ9ÿ&11&ÿÿ ÿG>H>8>ÿIÿ P
                                                     D 8195(ÿ)9 *ÿ9ÿ&11&ÿÿ ÿG>H>8>ÿIÿJQ O
                                                     D% 4 1ÿ4ÿ3F1ÿ924'1
                                    )>?@ABÿRSSÿT@RTÿRUUSVC
                                    D W9X$1X1 +3ÿ1 33"ÿ9ÿ&1521&ÿÿPÿG>H>8>ÿIÿM 
                                    D %IQ'193$O1 3ÿ4 +9 "Yÿ&(ÿF1&(1ÿ &ÿ45ÿ+441&ÿ'13 1 3ÿ'1F1ÿ9ÿ&11&ÿÿMÿG>H>8>
                                    D %'13 1 3ÿ9&'45ÿ9ÿ&11&ÿÿMÿG>H>8>ÿIÿQ2$9 
                                    8>ÿ=%8Hÿ453Fÿ= 159 ÿ%& 35"ÿ89 934 ÿH"31 ÿN$&(3ÿ4&1ÿ3F93ÿ213ÿ&1521ÿ&12345>
                                       H11ÿF33+Z[[\\\>9>4 [195F[ÿ>
                                       7!
                                        7"77#7$7$777
]. ^<703ÿ_`42`ÿ2`ab803ÿ9cÿ8`0 ?@ABÿACÿ
   da<e3;b82fÿg970ÿ41ÿ8`0
   705893ÿc4h4<ij                    ÿ
                                     ÿ
                                    % ÿ ¡ÿ¢£¤¥¦ÿ̈©©ÿª£«ªÿ«¬¬­®¯
                                                        ÿ±  ÿ²³´ÿµ¶ÿÿ¶·¸ÿ̧³¹¶µº¶¶ÿ²³´ÿ¶ÿ²»µº²ÿµºÿ ÿ¼¡½¡¡ÿ¾ÿ¿ ÀÁ ÂÃÄÿº²ÿµ¶ÿ
                                                             ÆÆÆÿº´ºÇ´ºµºÆºÿ̧µÈ¹µ²²ÿ²³¶ÿÀÉÇ¹̧²µºÆÿ²³¶ÿ́Ê²ÿ´ÿµº¶µ²¶ÿ́ÿ»»µ̧µ¶Ãÿ
                                                           ÿ̧¶¶ÿºÿËÌÍÎÏÐÍÑÏÒ¡ÿÓ»ÿµ¶ÿ¶¹³Ô³´Éÿµ¶ÿ¶¸Ç²ÄÿÇÿÿ·´¶
   tÿvwxyz{ÿ|}zÿ~ÿÿÿx~wÿ                       Çºÿ³¸ºÇÿ¶Äÿ¶·ºÿ́»ÿ́µ́º¶ÄÿÇ¶Ô»¸´Êÿ¶·ºÄÿº²ÿ»²ÿ̧µºÇ´·ÿ
                                                           Éÿ¹ºÿ́ÿµ»ÿºÕÿ́»ÿ¶ÿ²´Ç¹·º¶ÿ²´ÿº´ÿÉµ¶Äÿ»´¸¸´Êÿÿ´Ç²¹ÿµº
   vwxyz{ÿyÿ}wÿy}wÿ~{yÿx                          ÿ¼¡½¡¡ÿ¾ÿ ÖÀÃÀ×Ã¡
   xzÿtÿvwxyz{ÿÿvw~wvÿ~ÿ                           ºÿ±  ÿ²³´ÿµ¶ÿÿ²³´ÿ¶ÿ²»µº²ÿµºÿ ÿ¼¡½¡¡ÿ¾ÿ ØÙÀÃÄÿµ¶ÿÆÆÆ
   ÿ|}zÿwwyÿyzÿ{zwwv                            ´ºÇ´ºµºÆºÿ̧µÈ¹µ²²ÿ²³¶ÿÀÉÇ¹̧²µºÆÿ²³¶ÿ́Ê²ÿ´ÿµº¶µ²¶ÿ́ÿ»»µ̧µ¶Ãÿ
    vw{ÿx}yw{ÿÿzÿ}yw{ÿ                        ¸¶¶ÿºÿÚÄÁ¿¿Ä¿¿¿ÄÿÛÜÝÿßàÿáâããäåäÿàãÿæçãáååÝÿèÜÝåçÿéèêáâÛæàåçÿëÿãì
   |}wy}w{ÿz{ÿzyÿy}wÿvwxyz{ÿ~ÿ                          íâÛæàåçÿîîïÿÓ»ÿµ¶ÿ¶¹³Ô³´Éÿµ¶ÿ¶¸Ç²ÄÿÇÿÿ·´¶ÿÇºÿ³¸ºÇÿ¶Äÿ¶·ºÿ
   ÿx~wÿvwxyz{ÿy                            ´»ÿ́µ́º¶ÄÿÇ¶Ô»¸´Êÿ¶·ºÄÿº²ÿ»²ÿ̧µºÇ´·ÿÉÿ¹ºÄÿ́ÿµ»
   }wÿy}wÿwz vÿxxz                               ºÕÿ́»ÿ¶ÿ²´Ç¹·º¶ÿ²´ÿº´ÿÉµ¶Äÿ»´¸¸´Êÿÿ´Ç²¹ÿµºÿ ÿ¼¡½¡¡
                                                           ¾ ÖÀÃÀ×Ã¡
                                                        ðÿ¸ºÿµ¶ÿ³µºÆÿ»µ̧²ÿÊµÿµ¶ÿµµ́º¡
                                                        ðÇ   ÇºÇ¶ÿ́»ÿÿ¸ºÿÊÿ¶´µ̧Çµ²ÿµµ́ºÿ»´·ÿ́ºÿ́ÿ·´ÿÇ¸¶¶¶ÿ́»ÿÇ²µ´¶Äÿ
                                                           µºÿÇÇ´²ºÇÿÊµÿ ÿ¼¡½¡¡ÿ¾ÿ ÙÖÀ³Ã¡
                                                        ±   ÿ²³´ÿµ¶ÿÈ¹µ²ÿ´ÿ»µ̧ÿµ́²µÇÿ´¶ÿÀ»´ÿÉ·¸Äÿ¿ñÿº²ÿ¿òÃÿÊµÿÿ
                                                           ½Ç¹µµ¶ÿº²ÿóÉÇºÆÿ´··µ¶¶µ́ºÿÇÇ´²µºÆÿ´ÿ¾ÿôÿ́ÿÁÀ²Ãÿ́»ÿÿ½Ç¹µµ¶ÿ
                                                           óÉÇºÆÿðÇÿ́»ÿôõ¡ÿöµ̧ÿÿ÷ªª«¥£ø¤ùªÿªúÿûú­üùª«ý®ÿþ¤ªÿªÿúùÿ0úýÿ1úù23ù4ÿ5ÿ4ü«­6ÿ7ÿ­ÿù8ÿ
                                                           0úýÿ«ù¦ýü¬ª¥®ÿüù4¤ýÿ¢£«¬ª¤ýÿ ÿÀ »»µÇµÿ̧ö´·ÿÙ¿ ðÃÿÊµÿµ¶ÿ»´·¡
                                                        ±Ù³ÔÿÙ²¡³´ÿµ¶ÿÿ¶¸ÿ̧Ç´·ºÕÿ¶ÿ²»µº²ÿµºÿÿ½Ç¹µµ¶ÿóÉÇºÆÿðÇÿ́»ÿôõÿ¹¸ÿ
                                     ÿÙ
k. l030ÿb3493ÿ5a<e3;b82fÿ2a101 D 4
   c4h07ÿ5fÿ93ÿaia4<18ÿ8`0ÿ705893 D m1>ÿÿ0353ÿÿ77777777777777777777777ÿÿnF1 ÿÿ777777777777777ÿÿ891ÿ 215ÿ7777777777777777777777777
   _48`4<ÿ8`0ÿha18ÿ]ÿf0a31j                                                                       ooÿ[ÿÿ00ÿ[ÿmmmm
   %ÿ 451ÿ3F9 ÿÿ91Yÿ9339Fÿ9                0353ÿÿ77777777777777777777777ÿÿnF1 ÿÿ777777777777777ÿÿ891ÿ 215ÿ7777777777777777777777777
     1+95931ÿ3>                                                                                 ooÿ[ÿÿ00ÿ[ÿmmmm
pq.r30ÿa<fÿ5a<e3;b82fÿ2a101 D ÿ        4
   b0<74<iÿ93ÿ504<iÿc4h07ÿ5fÿa D m1        >ÿÿ012345ÿÿ77777
                                                              7777 77ÿ
                                                                       7
                                                                        7777
                                                                             777
                                                                                7
                                                                                 77
                                                                                   77ÿ777777777777777777777ÿÿK1934 F+ÿÿ7&'
                                                                                                                                 777(
                                                                                                                                    777
                                                                                                                                        7)7
                                                                                                                                           77
                                                                                                                                              7*
   5;14<011ÿba38<03ÿ93ÿa<                                                                                                                      7777777777777
   acc4h4a80ÿ9cÿ8`0ÿ705893j                                        0353ÿÿ7&
                                                                             77+
                                                                               777ÿ
                                                                                  7
                                                                                   777
                                                                                      7
                                                                                       7
                                                                                        777777777777777777777777777777777ÿnF1 ÿÿ     777777777777777777ÿ
   s3ÿ9ÿ91>ÿ%ÿ 451ÿ3F9 ÿY                                                                                                       ooÿ[ÿÿ00ÿ[ÿmmmmÿÿ
   9339Fÿ9ÿ1+95931ÿ3>                                           891ÿ 215Yÿÿ* 4\ ÿ77777777777777777777777777777777
 ÿ9ÿ45 ÿ ÿ                                        !4 395"ÿ#1334 ÿ45ÿ4 $%&'& 9ÿ(ÿ45ÿ)9 *5+3"ÿ                             +9(1ÿ,ÿ
                       Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 3 of 17

012345ÿ       777
             79   7777ÿ7
                             77777777ÿ77777777ÿ777777777777777777777777777777ÿ                           891ÿ 215ÿÿ7777777777777777777777777777777777777ÿÿ
                  1ÿ

--./01ÿ34ÿ506ÿ7846ÿ93:6;ÿ3<ÿ=>?@ EFGHÿIJJÿKFIKÿILLJMNÿ
   A?@=B?C=D                                      O 01
                                                     2345ÿP9ÿP9&ÿ3ÿ&4 1Qÿ+5+9ÿ+91ÿ4ÿ2 1 Qÿ45ÿ+5+9ÿ9 13ÿÿ3Pÿ&353ÿ45ÿRÿ&9"
                                                     1&931"ÿ+511&(ÿ3P1ÿ&931ÿ4ÿ3Pÿ+1334 ÿ45ÿ45ÿ9ÿ4 (15ÿ+953ÿ4ÿ PÿRÿ&9"ÿ3P9 ÿÿ9 "ÿ43P15
                                                    &353S
                                                  O Tÿ29 *5+3"ÿ91ÿ4 15(ÿ&12345Uÿ9931Qÿ(1 159ÿ+95315Qÿ45ÿ+95315P+ÿÿ+1 &(ÿÿ3Pÿ&353S
                                                    



-V.WX64ÿ506ÿ;6Y5XZÿX[<ÿXZÿ08\6 O
                                4
   ]X446443X<ÿX9ÿ8<1ÿZ68:
   ]ZX]6Z51ÿXZÿ]6Z4X<8:ÿ]ZX]6Z51 O _1SÿT `15ÿ214`ÿ45ÿ19Pÿ+54+153"ÿ3P93ÿ11&ÿ 1&931ÿ9331 34 SÿT339Pÿ9&&34 9ÿP113ÿÿ11&1&S
   5085ÿ<66;4ÿ3^^6;3856                /01ÿ;X64ÿ506ÿ]ZX]6Z51ÿ<66;ÿ3^^6;3856ÿ8556<53X<DÿÿEFGHÿIJJÿKFIKÿILL"Sÿ
   8556<53X<D
                                                              O %3ÿ+41ÿ45ÿÿ91(1&ÿ34ÿ+41ÿ9ÿ3P5193ÿ4ÿ 1 3ÿ9 &ÿ&1 3921ÿP9a95&ÿ34ÿ+ 2ÿP193Pÿ45ÿ913"S
                                                                bP93ÿÿ3P1ÿP9a95&cÿ777777777777777777777777777777777777777777777777777777777777777777777
                                                              O %3ÿ11&ÿ34ÿ21ÿ+P"9"ÿ151&ÿ45ÿ+543131&ÿ54 ÿ3P1ÿ̀193P15S
                                                              O 9%33ÿ3134&1ÿÿ4+51ÿ51e9P92+11ÿQ(ÿ4'41&3ÿ445ÿ*9Qÿ1193ÿ43P993ÿÿ(444&&ÿdQÿ1*93"Qÿÿ&&19351"5Qÿ4+55943&1ÿ451ÿQ4ÿ451ÿÿ'19513ÿ̀3P4 3
                                                                                                                                                                                                               1 $51931&
                                                                9 13ÿ45ÿ43P15ÿ4+34 S
                                                              O 3P15ÿ7777777777777777777777777777777777777777777777777777777777777777777777777777777
                                                              /06Z6ÿ34ÿ506ÿ]ZX]6Z51D777777777777777777777777777777777777777777777777777777777777777777777ÿ
                                                                                                      215ÿ        f35113ÿ
                                                                                                     77777777777777777777777777777777777777777777777777777777777777777777ÿ
                                                                                                     777777777777777777777777777777777777777ÿ 7777777ÿ 7777777777777777ÿ
                                                                                                     83"ÿ ÿ                                   f3931ÿ g%#ÿ84&1ÿÿ
                                                              h4ÿ506ÿ]ZX]6Z51ÿ3<4iZ6;Dÿ
                                                              O 4
                                                              O _1Sÿ% 59 1ÿ9(1 "ÿ77777777777777777777777777777777777777777777777777777777777777777777
                                                                           84 393ÿ9 1ÿ 77777777777777777777777777777777777777777777777777777777777777777777ÿ
                                                                           #P4 1ÿ       77777777777777777777777777777777ÿÿ

          jklkmnkmolpÿlrsÿlstmrmnkulkmvwÿmrxyutlkmyrÿ

-,.W6Y5XZz4ÿ6453^853X<ÿX9                         EFGHÿGNÿ
   8\83:8Y:6ÿ9i<;4                                O  &ÿ̀ÿ21ÿ9'9921ÿ45ÿ&352 34 ÿ34ÿ 151&ÿ51&345S
                                                  O T315ÿ9 "ÿ9& 3593'1ÿ1e+1 1ÿ951ÿ+9&Qÿ4ÿ &ÿ̀ÿ21ÿ9'9921ÿ45ÿ&352 34 ÿ34ÿ 151&ÿ51&345S
-{.|453^856;ÿ<i^Y6ZÿX9
                                                  O $}~
                                                                                               O Q$Q                                                 O Q $Q
   7Z6;35XZ4                                      O $~~                                       O Q $Q                                                O Q $Q
                                                  O $~~                                       O Q $Q                                               O 451ÿ3P9 ÿQ
                                                  O $~~~
-.|453^856;ÿ844654
                                                  O $Q                                  O  QQ $ ÿ 4                                      O QQ $ ÿ24
                                                  O Q $ Q                            O  QQ $ÿ 4
                                                                                                                                                            O  QQQ $ ÿ24
                                                  O  Q $Q                           O QQ $ ÿ 4                                    O  QQQ $ÿ24
                                                  O Q $ ÿ 4                          O  QQ $ÿ 4                                   O 451ÿ3P9 ÿÿ24

 ÿ9ÿ45 ÿ ÿ                                      !4 395"ÿ#1334 ÿ45ÿ4 $%&'& 9ÿ(ÿ45ÿ)9 *5+3"ÿ                                                                            +9(1ÿ,ÿ
                       Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 4 of 17

012345ÿ       
               7717ÿ
             79     7777ÿ7
                               77777777ÿ̄77°777«777±7ÿ̄77777777777777777777777777777ÿ           891ÿ 215ÿÿ7777777777777777777777777777777777777ÿÿ

-./012345267ÿ935:3932361
                                                   ; <$<=>                               ; < >> $< ÿ 4
                                                                                                ¦                                 ; <=>> $< ÿ24
                                                   ; <=> $< >                         ; < >> $<=ÿ 4            ; < >>> $< ÿ24
                                                   ; < > $<=>                        ; <=>> $< ÿ 4           ; < >>> $<=ÿ24
                                                   ; <=> $< ÿ 4                       ; < >> $<=ÿ 4          ; ?451ÿ3@9 ÿ<=ÿ24
          ABCDBEFÿHIJÿABKLBHMÿNBOKPJPFLIQMÿPQRÿSLTQPFDJBEÿ
UVWXYXZÿ$$ÿÿ)9 *5+3"ÿ59 &ÿÿ9ÿ154 ÿ51[ÿÿ?9*(ÿ9ÿ91ÿ3931 1 3ÿÿ4 134 ÿ\3@ÿ9ÿ29 *5+3"ÿ91ÿ9 ÿ51 3ÿÿ1ÿ+ÿ34ÿ
            <=>ÿ45ÿ +54 1 3ÿ45ÿ+ÿ34ÿÿ"195>ÿ45ÿ243@[ÿÿ]ÿ^[_[8[ÿ̀`ÿ=>ÿab >ÿ= c>ÿ9 &ÿa=d [ÿ
-e/f6g95h523ijÿ5j7ÿ13kj52lh6ÿim ÿ s@1ÿ&12345ÿ51t 13ÿ511ÿÿ945&9 1ÿ\3@ÿ3@1ÿ@9+315ÿ4ÿ331ÿ >ÿ^ 31&ÿ_3931ÿ84&1>ÿ+11&ÿÿ3@
   5l2nih3o67ÿh6ph616j2523q6ÿim                      +1334 [
   76:2ih
                                                   ÿ %ÿ@9'1ÿ211 ÿ9 3@45u1&ÿ34ÿ1ÿ3@ÿ+1334 ÿ4 ÿ21@9ÿ4ÿ3@1ÿ&12345[
                                                   ÿ %ÿ@9'1ÿ1v9 1&ÿ3@1ÿ45 934 ÿÿ3@ÿ+1334 ÿ9 &ÿ@9'1ÿ9ÿ5194 921ÿ211ÿ3@93ÿ3@1ÿ45 934 ÿÿ351ÿ9 &
                                                     45513[
                                                   %ÿ&1951ÿ &15ÿ+1 93"ÿ4ÿ+15w5"ÿ3@93ÿ3@1ÿ451(4(ÿÿ351ÿ9 &ÿ45513[ÿ
                                                                      ¢ª§©ª££¡
                                                        xv131&ÿ4 ÿÿ77777777777777777ÿ

                                                   {    7ª
                                                         77ª7ÿ7
                                                               7777
                                                                    ??ÿyÿÿ00ÿÿyÿzzzzÿ
                                                                   7
                                                                    77
                                                                      777ÿ7
                                                                            777ÿ 77777
                                                                               7    7777777777777777777ÿ 7
                                                                                      7
                                                        _( 9351ÿ4ÿ9 3@45u1&ÿ51+511 393'1ÿ4ÿ&12345ÿÿ
                                                                                                             7777
                                                                                                                 7
                                                                                                                  77
                                                                                                                    7
                                                                                                                     777ÿ
                                                                                                            #531&ÿ9 1ÿ
                                                                                                                        
                                                                                                                        777ÿ
                                                                                                                           7
                                                                                                                            77777
                                                                                                                                 7
                                                                                                                                  7777777777777777777777777ÿ

                                                        s31ÿ7®
                                                               7777777777777777777777777777777777777777ÿ



-|/}3kj52lh6ÿimÿ522ihj6~                           {ªªÿÿ
                                                        777777777777777777777777777777777777777777777
                                                        _( 9351ÿ4ÿ933451"ÿ45ÿ&12345ÿ
                                                                                                                      0931ÿ 7
                                                                                                                             7¢
                                                                                                                              77ª
                                                                                                                                7§
                                                                                                                                 7©
                                                                                                                                  77ª
                                                                                                                                    7£
                                                                                                                                     7
                                                                                                                                      77£
                                                                                                                                        77¡
                                                                                                                                          777
                                                                                                                                ??ÿ yÿ00ÿÿyÿzzzzÿ

                                                         ÿ
                                                        7777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777ÿ
                                                        #531&ÿ9 1ÿ
                                                         ÿÿÿ
                                                        7777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777ÿ
                                                        5 ÿ9 1ÿ
                                                         £¥ÿ«¬ÿ­ÿ¢¤
                                                        7777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777ÿ
                                                         215ÿ _35113ÿ
                                                         
                                                        83"ÿ                                                 _3931ÿ
                                                                                                                            ¤¤¥
                                                        7777777777777777777777777777777777777777777777777777ÿ 777777777777ÿ777777777777777777777777777777ÿ
                                                                                                                           %#ÿ84&1ÿ
                                                         ¤§¡¨£££¨©¥
                                                        777777777777777777777777777777777777ÿ
                                                        84 393ÿ+@4 1ÿÿ
                                                                                                                           
                                                                                                              ÿ777777777777777777777777777777777777777777ÿ
                                                                                                              x 9ÿ9&&51 ÿ

                                                          ¡¢¡£ÿ                                                      
                                                        777777777777777777777777777777777777777777777777777777ÿ777777777777ÿ
                                                        )95ÿ 215ÿ                                              _3931ÿ




 ÿ9ÿ45 ÿ ÿ                                      !4 395"ÿ#1334 ÿ45ÿ4 $%&'& 9ÿ(ÿ45ÿ)9 *5+3"ÿ                                    +9(1ÿ,ÿ
                       Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 5 of 17
              HIJKLMNOÿQRMINSTJÿUSVWXYZLJX[ÿUSM\
 *+,-89ÿÿ    7390-ÿ<5 +ÿ   =3>>6+ÿ<5 +ÿ        ?50-ÿ<5 +ÿ
                                                                         .ÿ                /50+ÿ12 ,+9ÿ345ÿ789:8;

                                                    @ÿABÿÿC)ÿ$DÿEFGÿ
]^_ÿabcdecfÿghcijklmnebo
pbqrhjiÿajslbjmebotÿÿuvwvÿpbqho
ÿxcnv
yzxÿus{|bcmotÿ}vavÿÿÿuvwvÿpbqho
yzxuÿ~hchfbrbcmÿ}}yÿÿuvwvÿpbqho




   12234356ÿ789 ÿ                                  ÿÿÿ!"!#ÿ$%ÿÿ&'()ÿ
   ÿ          ÿ
Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 6 of 17
Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 7 of 17
Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 8 of 17
Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 9 of 17
Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 10 of 17
Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 11 of 17
                         Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 12 of 17

ÿÿ½ÿÿC$ÿGÿÿÿCÿ$ÿÿC$ÿH¾ÿ
 ÿ              ÜÃ¨Ä¨¨ÔÉ
 ak_89ÿ·4 aÿÿ̈¨       ¨Ë¨Ï¨Ñ¨ÿÝÎ
                               ¨¨Ë¨Ã¨Ï¨Æ¨Ð¨Ä¨ÿ¨ßÆ¨à¨Á¨Ê¨Â¨ÅÉ¨Ä¨Ê¨áÿ¨ßÆ¨Ë¨Ó¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨ÿÿ
 ¸e2_adÿ§_4_acÿ4ep9gb_3±ÿ¹8g9_ÿ189ÿ_`arÿ¨            ¿À ¨¨Á   ¨¨ÂÃ  ¨Ä¨¨ÅÆ¨¨ÿÈÉ
                                                                              ¨¨Ê
                                                                                ¨¨ÂÅ
                                                                                   ¨ÉË
                                                                                     ¨¨Âÿ
                                                                                        ¨À¨Ì
                                                                                           ¨ÿÍÄ
                                                                                             ¨¨¨Î¨Ï
                                                                                                  ¨Ê
                                                                                                   ¨¨¨¨¨¨¨ÿ
 ¹4caÿeg ka9ÿ¦£ÿº» rÿ ¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨¨ÿÿ


01123245ÿ789 ÿ ÿ
%&'()*)+,-.ÿ0.1&*ÿ2&.)(+3ÿ-4ÿ2&*56*3ÿ4-*ÿ7-.89.1,:,16)(ÿ%&;+-*<ÿ =>?=@
Aÿ"ÿBCÿ$ÿCDÿÿÿÿ#Cÿÿÿ"ÿ#Eÿ$Cÿ$ÿÿFÿÿF$CFEÿG$ÿ$Hÿÿ$#Gÿ
C$ÿGÿÿCÿ$C$ÿÿ$$$ÿÿ#$EÿÿCÿGÿCÿI$ÿÿÿCÿ$ÿÿÿÿCÿGEÿ
ÿÿGG$ÿÿC$ÿG$JÿKC$ÿGÿG$ÿ$ÿCÿ"L$ÿF$ÿÿ$CFÿÿCÿ#EÿCÿÿÿCÿ
GEÿÿCÿJÿÿMNFÿO$ÿ=PPQÿÿRP==Jÿ
SAO!TÿÿMNFÿÿ$ÿÿ$$ÿGJÿÿUNHÿÿ$ÿ$GEÿHÿFFEÿÿ#HÿGÿÿFFÿ#ÿÿÿ
ÿBCÿÿ#NFÿ$ÿÿ$ÿÿ$ÿFÿÿV@PPEPPPÿÿGF$GÿÿFÿÿ>Pÿ$Eÿÿ#CJÿÿ=QÿJWJXJÿYYÿ=@>Eÿ=Z[=Eÿ
=@=REÿÿZ@\=Jÿ

             %&'()*)+,-.ÿ).1ÿ<,].)+6*&ÿ

          ^ÿ4 ÿ_`aÿb9ac2dae_fÿ4e8_`a9ÿ81123a9fÿ89ÿ4eÿ4g_`892hadÿ4iae_ÿ81ÿ_`aÿ389b894_28ejÿ4ÿ a ka9ÿ89ÿ4eÿ4g_`892hadÿ4iae_ÿ81ÿ_`aÿb49_ea9c`2bjÿ89ÿ
          4e8_`a9ÿ2ed2l2dg45ÿca9l2eiÿ4cÿ4ÿ9ab9acae_4_2laÿ81ÿ_`aÿdak_89ÿ2eÿ_`2cÿ34camÿ
          ^ÿ̀4laÿao4 2eadÿ_`aÿ2e189 4_28eÿ2eÿ_`aÿd83g ae_cÿ3`a3padÿka58qÿ4edÿ^ÿ̀4laÿ4ÿ9a4c8e4k5aÿka52a1ÿ_`4_ÿ_`aÿ2e189 4_28eÿ2cÿ_9gaÿ4edÿ3899a3_r
          s tuvwxyzwÿ|}~ÿ|wwzÿ xÿw zÿwÿ01123245ÿ789 ÿ 
          s tuvwxyzwÿÿwxÿvÿwÿzÿtwuywxÿÿwÿ01123245ÿ789 ÿ 
          s tuvwxyzwÿ}ÿwxÿvÿwÿ wuywxÿzÿ01123245ÿ789 ÿ 7
          s tuvwxyzwÿÿwuyÿ uÿ xÿ wwxÿwwÿ01123245ÿ789 ÿ ¡
          s tuvwxyzwÿÿxwÿ01123245ÿ789 ÿ ¢
          s tyÿ£ÿ|wÿ xÿzwÿ£ÿ¤ ¥¦xxyzÿ01123245ÿ789 ÿ §g 
          s  aedadÿtuvwxyzwÿ̈¨¨¨
          s vwÿ©©ÿÿvwÿªÿwÿÿ£ÿwxÿvÿwÿvwÿ«¬ÿ­wÿ wuywxÿzÿ xÿ|wÿ¤ÿ¦xwÿ01123245ÿ789 ÿ ®
          s 0_`a9ÿd83g ae_ÿ_`4_ÿ9a¯g29acÿ4ÿda35494_28e°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°ÿ

         ^ÿda3549aÿgeda9ÿbae45_±ÿ81ÿba9²g9±ÿ_`4_ÿ_`aÿ189ai82eiÿ2cÿ_9gaÿ4edÿ3899a3_mÿ
         oa3g_adÿ8eÿ°Õ°Ö
                        °°×Ø
                           °°Ù°×
                               °Ú°Õ
                                  °°Ú°Û°°ÿ
                     ´´ÿÿÿÿµµµµÿ
                                                                        ³×Ê×ÿÈÀÁÐÑÏÊÿÒÓÿ¿ÔÉÂÃ
                                                                             °°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°
                                                                               §2ie4_g9aÿ81ÿ2ed2l2dg45ÿc2ie2eiÿ8eÿka`451ÿ81ÿdak_89

                                                                               °ÈÀ
                                                                                °°°Á
                                                                                   °°Ð°Ñ°Ï°Ê°ÿ
                                                                                             °ÒÓ
                                                                                              °°ÿ
                                                                                                °¿ÔÉ
                                                                                                 °°°°Â
                                                                                                     °Ã
                                                                                                      °°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°ÿ
                                                                               ¶92e_adÿe4 aÿ
                                                                               °ÜÝÞ
                                                                                °°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°°ÿ
                                                                               ¶8c2_28eÿ89ÿ9a54_28ec`2bÿ_8ÿdak_89ÿ

01123245ÿ789 ÿ ÿ                                       ÿÿÿÿÿÿ!"ÿ#$ÿ
                          Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 13 of 17


          Fill in this information to identify the case:

           Debtor name CHEMICAL EXCHANGE INDUSTRIES, INC. ET.AL

           United States Bankruptcy Court for the SOUTHERN DISTRICT OF TEXAS
                                                                                                 (State)
           Case number (If known): 23-                                                                                                       Check if this is an
                                                                                                                                                 amended filing




    Official Form 204--Revised
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                     12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and       Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated,   total claim amount and deduction for value of
                                                                               services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff
     CB TECHNOLOGIES, INC                  770 THE CITY DR S                   TRADE DEBT                                                                 1,338,633.31
1                                          SUITE 5300
                                           ORANGE, CA 92868
                                           Rachel Nelson
                                           Rachel.Nelson@cbtechinc.om
                                           714-944-3012
     GODFREY & KHAN S.C.                   BIN # 318                           PROFESSIONAL                                                               526,129.31
2                                          MILWAUKEE, WI 53288-0318            SERVICES
                                           Patricia Falb – Attorney
                                           414-287-9692
                                           pfalb@gklaw.com

     UNION PACIFIC RAILROAD                PO BOX 502453                       TRADE DEBT                                                                 362,261.55
3                                          SAINT LOUIS, MO 63150-2453



     SYMMETRY ENERGY SOLUTIONS, CHASE LOCKBOX                                  TRADE DEBT                                                                 275,678.84
4    LLC                        PO BOX 301149
                                DALLAS, TX 75303-1149


     NOVA CHEMICALS (CANADA) LTD PO BOX 8011U                                  TRADE DEBT                                                                 234,903.00
5                                POSTAL STATION A
                                 TORONTO, ON, M5W 3W5
                                 Steven Ramey/Credit Analyst
                                 Steven.Ramey@novachem.com
                                 C 412-298-7617
                                 O 412-490-4248

     AFCO INSURANCE PREMIUM                PO Box 4795                 TRADE DEBT                                                                         152,573.85
6    FINANCE                               CAROL STREAM, IL 60197-4795




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 1
                         Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 14 of 17


    Debtor        CHEMICAL EXCHANGE INDUSTRIES, INC. ET AL.                                       Case number (if known) 23-
                  Name




     Name of creditor and complete          Name, telephone number, and     Nature of the claim     Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade     claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,      contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional            unliquidated,   total claim amount and deduction for value of
                                                                            services, and           or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff

     THE DOW CHEMICAL COMPANY      7719 COLLECTION CENTER DR TRADE DEBT                                                                                  142,341.05
7                                  CHICAGO, IL 60693-0077
                                   Michelle Wilkins Receivable
                                   Specialist
                                   O 989-496-8230
                                   m.wilkins@dow.com
     FLUID FLOW PRODUCTS INC       PO BOX 751278                TRADE DEBT                                                                               136,164.60
8                                  3915 SHOPTON ROAD,
                                   SUITE 101
                                   CHARLOTTE, NC 28217
                                   Amber Montgomery Credit
                                   &Collections
                                   O 401-334-6963
                                   ambermontomery@fluidflow.com
     RADIOGRAPHIC SPECIALISTS, INC 4110 MOHAWK                  TRADE DEBT                                                                               130,116.00
9                                  HOUSTON, TX 77093
                                   Trey Williams Ops Mgr.
                                   C 361-433-8440
                                   O 281-449-1634

   SCHST, INC dba SPACE CITY               PO BOX 1564                   TRADE DEBT                                                                      115,898.03
10 SERVICES                                DEPARTMENT #278
                                           HOUSTON, TX 77251-1564
                                           Hailey Johnston AR Specialist
                                           O 281-227-6300
                                           hjohnston@spacecitytx.com
     STOLT-NIELSEN USA INC                 PO BOX 7247-7357              TRADE DEBT                                                                      108,630.00
11                                         PHILADELPHIA, PA 19170-7357
                                           Jeff Sims Regional Sales Mgr.
                                           C 832-414-2442
                                           J.sims@stolt.com

     NEWPORT TANK CONTAINER INC            2055 CROCKER ROAD                  TRADE DEBT                                                                 107,213.00
12                                         SUITE 300
                                           WESTLAKE, OH 44145
                                           Jennifer Kladke-Grealis Collection
                                           Lead
                                           O 440-356-8866
                                           Jennifer.Kladke@newporttank.com
     TXU ENERGY SERVICES                   PO BOX 650638                      TRADE DEBT                                                                 91,908.80
13                                         DALLAS, TX 75265-0638



     O’DAY INSTRUMENTS LLC                 PO BOX 396                       TRADE DEBT                                                                   91,700.00
14                                         SCHULENBURG, TX 78956
                                           409-925-3859
                                           Mike Oday
                                           mike@odayinst.com
     HENIFF LOGISTICS, LLC                 PO BOX 74008343                  TRADE DEBT                                                                   90,027.60
15                                         CHICAGO, IL 60674-8343
                                           Margarita Rodriguez Collection
                                           Specialist
                                           o 630-581-7641
                                           mrodriguez@Heniff.com
     ANAHUAC TRANSPORT                     309 S. FM 1724                   TRADE DEBT                                                                   77,334.42
16                                         ANAHUAC, TX 77514
                                           Jackie Monteau Office Manager
                                           O 409-374-2806
                                           Jackie@anahuactransport.com

    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                       page 2
                        Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 15 of 17


     DAXX                             7155 OLD KATY RD.                TRADE DEBT                                      69,411.07
17                                    SUITE SOUTH 200
                                      HOUSTON, TX 77024
                                      Andres Rodriguez CFO
                                      713-400-3299
     SMBC RAIL SERVICES LLC           PO Box 13846                     TRADE DEBT                                      64,881.93
18                                    NEWARK, NJ 07188-3846



     UNITED RENTALS, INC              PO BOX 840514                        TRADE DEBT                                  53,668.07
19                                    DALLAS, TX 75284-0514
                                      Shaira Mae Saludar Credit Specialist
                                      O 212-333-6600
                                      smsaludar@ur.com

   TRANS-GLOBAL SOLUTIONS, INC        7500 FM 1405                     TRADE DEBT                                      50,740.56
20 CEDAR PORT PARTNERS, L.P.          BAYTOWN, TX 77523
                                      Belinda Gutierrez
                                      O 713-330-2221
                                      C 281-620-8419
                                      bgutierrez@tgsgroup.com

     AMERICAN RAILCAR LEASING         PO BOX 952359                    TRADE DEBT                                      50,361.45
21                                    ST LOUIS, MO 93195-2359
                                      Linda Yost
                                      O 636-940-5397
                                      Linda.yost@smbcrail.com

     GRACE MATTHEWS INC               833 EAST MICHIGAN STREET         PROFESSIONAL                                    47,826.37
22                                    SUITE 1420                       FEES
                                      MILWAUKEE, WI 53202
                                      Andrew Hinz Managing Director
                                      O 414-278-1120
                                      C 414-305-8282
                                      ahinz@gracematthews.com

     CITY OF HOUSTON                  DEPARTMENT OF PUBLIC             WATER UTILITY                                   44,048.07
23                                    WORKS
                                      PO BOX 1560
                                      HOUSTON, TX 77250

   NORFOLK SOUTHERN RAILWAY           PO BOX 532797                    TRADE DEBT                                      42,628.19
24 COMPANY                            ATLANTA, GA 30353-2797



     PIG PEN INC, THE                 5724 CLAREWOOD DRIVE             TRADE DEBT                                      38,831.81
25                                    HOUSTON, TX 77081
                                      Stephanie Crawford Lucas COO
                                      O 713-726-0689
                                      stephanie@thepigpeninc.com
   COVENANT TECHNOLOGY                820 GESSNER, SUITE 625           TRADE DEBT                                      32,438.42
26 SERVICES                           HOUSTON, TX 77024
                                      Sharleen L. Walkoviak
                                      713-358-7545
                                      swalkoviak@covenant.com
     AMSPEC SERVICES                  ATTN: ACCTS RECEIVABLE           TRADE DEBT                                      32,106.55
27                                    1249 SOUTH RIVER RD.
                                      SUITE 204
                                      CRANBURY, NJ 08513
                                      Accounts.receivable.us@amspecgro
                                      up.com

     TRINITY LEASING                  CUSTOMER PAYMENT                 TRADE DEBT                                      31,650.00
28                                    ACCOUNT W510131
                                      PO BOX 358041
                                      PITTSBURGH, PA 15251-5041

     CORITY SOFTWARE INC              SUITE 900, 250 BLOOR STREET TRADE DEBT                                           29,359.38
29                                    EAST, BOX 15
                                      TORONTO, ONTARIO, CANADA
                                      M4W 1E6
                                      Oksana Bila
                                      416-863-6800 ext 492
                                      Oksana.bila@cority.com

 Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims      page 3
                     Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 16 of 17


     GRAINGER                      DEPT 804060937                 TRADE DEBT                                        27,599.63
30                                 PO BOX 419267
                                   KANSAS CITY, MO 64141-6267




 Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims      page 4
               Case 23-90778 Document 1 Filed in TXSB on 09/18/23 Page 17 of 17

                                       012345ÿ738349ÿ81 3ÿ 3ÿ
ÿÿ                                                       ÿ                      ÿ
BKNDPIQLÿRSIKQETNÿUEMVGHOPNGWÿUEIX                           ÿ!"#$ÿÿ&AA                  &
                                '7(ÿ)*ÿ+0(,ÿ70(,ÿ-)'.7ÿ
/01#$2ÿ34ÿ32ÿ5#ÿ6373ÿ22$ÿ8ÿ9:$1#;ÿ!52$ÿ <!$ÿÿ           <9:$1#;ÿ5ÿ
                                                           =>$ÿ?$93#0@ÿ   =$ÿ6132ÿ8ÿ13#$#@ÿ
 ZQ[PMÿ\Xÿ]DPHKÿ^ÿBKQOPGÿ]DPHKÿ_QDPL̀ÿaOVGH              AYY                  BCDDCEÿGHCIJKCLMNO
 bcYYÿZVELQ[`ÿdbAAeWÿfCVGHCEWÿagÿhhYYi
